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      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK


                                                    Plaintiff,

       Stephen Lally
                                                                  Case No.
                              -v-
                                                                        Rule 7.1 Statement
       Novartis Pharmaceuticals Corporation
                                                    Defendant.




                       Pursuant to Federal Rule of Civil Procedure 7.1 [formerly Local
     General Rule 1.9] and to enable District Judges and Magistrate Judges of the Court
     to evaluate possible disqualification or recusal, the undersigned counsel for
      Plaintiff, Stephen Lally                           (a private non-governmental party)

     certifies that the following are corporate parents, affiliates and/or subsidiaries of
     said party, which are publicly held.




      None. Not applicable.




     Date:
              3/17/2020                                    /s/ Raymond C. Silverman
                                                         Signature of Attorney


                                                         Attorney Bar Code: RS4057




Form Rule7_1.pdf SDNY Web 10/2007
